UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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ARISTIDES ALFREDO DILLATORO and FRANCISCO
RODRIGUEZ,

                                   Plaintiffs,
                                                                             REPORT AND
                 -against-                                                   RECOMMENDATION
                                                                             16-CV-254 (DRH) (ARL)
DENNIS D'ONOFRIO, RIDGE RESTAURANT, INC.
doing business as Alfredo's Pizzeria and PHILIP
D'ONOFRIO,

                                    Defendants.
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LINDSAY, Magistrate Judge:

        Before the Court, on referral from District Judge Hurley, is the motion of the plaintiffs,

Aristides Alfredo Dillatoro (“Dillatoro”) and Francisco Rodriguez (“Rodriguez”), for an award

of attorneys’ fees and costs. For the reasons set forth below, the undersigned respectfully

recommends that the plaintiffs be awarded $27,588.75 in attorneys’ fees and $1,742.27 in costs

for a total award of $29,331.02.

                                                   BACKGROUND

        On January 18, 2016, Dillatoro and Rodriguez commenced this action against the

defendants, Dennis D'Onofrio, Velia D’Onofrio, 1Ridge Restaurant, Inc. doing business as

Alfredo's Pizzeria (“Ridge”) and Philip D'Onofrio, alleging that the defendants had violated the

overtime provisions of the Fair Labor Standards Act of 1938 (“FLSA”), as amended, and various

provisions of the New York Labor Law (“NYLL”), including overtime, spread of hours, wage

notice, and wage statement violations. ECF No. 1. Despite being served with the complaint,

the defendants failed to answer. As such, on April 18, 2016, at the plaintiffs’ request, the Clerk


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 Velia D’Onofrio was dropped from the action when the plaintiffs filed an amended complaint in March 2018.
ECF No. 40.
of the Court certified the default of the defendants in this action. On April 19, 2016, Magistrate

Judge Tomlinson, who was initially assigned to this matter, held a conference to discuss a date

for filing the motion for a default judgment. 2 Plaintiffs’ counsel represented to the Court that he

would file the motion by June 10, 2016 at the latest. However, approximately one week later,

counsel for both parties filed a stipulation seeking to have the certificate of default vacated.

ECF No. 16. Shortly thereafter, the defendants filed an answer to the complaint. ECF No. 18.

           No action was taken in this case for six months. In fact, according to a status report filed

in December 2016, the parties had not engaged in any discovery but had, instead, discussed the

possibility of settlement. ECF No. 19. Accordingly, on January 13, 2017, one year after the

case had been commenced, the Court entered a scheduling order governing initial discovery.

ECF No. 23.

           In April 2017, counsel for the plaintiffs sought to withdraw as counsel for Rodriguez

indicating that he had lost contact with the plaintiff. He also sought to extend the deadline to

add parties or amend the pleadings. By order dated April 25, 2017, over the defendants'

objections, the Court granted the motion to extend the deadline. 3 However, the Court denied

the motion to withdraw indicating that it would issue a separate Order to Show Cause providing

Rodriguez with the opportunity to object, which it did. Later that day, plaintiffs’ counsel


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    The defendants failed to appear at the conference.
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    The plaintiffs had previously sought to extend the discovery deadline.


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submitted another letter indicating that upon return to his office he had learned that Rodriguez

had in fact tried to contact him. As such, by May 31, 2017, the motion to withdraw was deemed

moot.

        On June 23, 2017, the plaintiffs file a motion to amend the complaint. According to

counsel, the proposed amended complaint was required to properly identify the corporate

defendant and to correct the pleading to reflect that Philip D'Onofrio (not Velia D'Onofrio) was

the plaintiffs’ supervisor. Finally, the proposed amended complaint made some minor factual

corrections. The plaintiffs’ motion was granted and, on March 22, 2018, the plaintiffs filed the

amended complaint. ECF No. 40. The defendants filed an answer to the amended pleading on

April 12, 2018, but once again no action was taken in this case for close to a year.

        On March 5, 2019, counsel appeared at a conference before District Judge Hurly and

were advised to immediately contact Judge Tomlinson for a revised scheduling order. On April

12, 2019, the Court entered a revised scheduling order establishing May 31, 2019 as the deadline

for all fact discovery. ECF No. 48. However, one month later, the defendants submitted a

motion complaining that the plaintiffs’ had utterly refused to respond to their demands for

discovery. ECF No. 49. On March 30, 2019, the Court held a conference with the parties

during which it denied the defendants’ motion to compel. The Court indicated that after hearing

from plaintiffs’ counsel with regard to his personal/family circumstances (which the Court found

unnecessary to disclose in the public record), the Court found that denial of the motion was


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warranted. The Court also entered an amended scheduling order establishing August 19, 2019

as the new deadline for all depositions and fact discovery to be completed. Discovery was

extended one additional time before the parties sought leave to file motions for summary

judgment. ECF Nos. 54, 55. In December 2019, the parties were given a briefing schedule for

the cross-motions and in March 2020, the fully briefed motions were filed with the Court. ECF

Nos. 59-64.

           By order dated December 29, 2020, District Judge Hurley granted the defendants' motion

to the extent that it sought to dismiss all of the claims asserted by Rodriguez and Dillatoro's

claims for individual liability against Philip. The Court also granted the plaintiffs’ motion to the

extent that it ruled that Dennis D'Onofrio could be held individually liable for any wage

violations. ECF No. 68. Following the issuance of the Memorandum and Order, Magistrate

Judge Tomlinson issued an order indicating that discovery was closed and accepted the parties’

proposed joint pretrial order for filing. Magistrate Judge Tomlinson indicated that the case

would be tried in accordance with the trial schedule of Judge Hurley; however, in May 2021, the

parties engaged in further settlement discussions with the Court. Shortly thereafter, the case

settled for $7,000 4; however, because the plaintiffs were seeking $38,136.00 in attorneys’ fees

plus $2,312.18 in costs for a total award of $40,448.18, the Court granted the plaintiffs’ request



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    The sealed settlement document submitted to the Court reflects a slightly lower amount.


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to file a separate motion for attorneys’ fees, the motion now before the Court. The plaintiffs no

longer seek to be awarded attorneys’ fees in the amount of $40,448.18. The current request is

for an award of attorneys’ fees amounting to $56,919.77, representing $55,177.50 in attorneys’

fees and $1,742.27 in costs.

                                               DISCUSSION

        “Both the FLSA and NYLL are fee-shifting statutes which entitle a plaintiff to an award

of reasonable attorney’s fees and costs in wage-and-hour actions.” Callari v. Blackman

Plumbing Supply, Inc., No. CV 11-3655 (ADS) (AKT), 2020 U.S. Dist. LEXIS 79882, at *20

(E.D.N.Y. May 4, 2020); 29 U.S.C. § 216(b) (“The Court . . . shall, in addition to any judgment

awarded to the plaintiff or plaintiffs, allow a reasonable attorney's fee to be paid by the

defendant, and costs of the action.”). “Attorneys' fees and costs in FLSA actions generally arise

in three contexts: (1) fee applications following a ruling in favor of [the] plaintiff, (2) fee

applications following a settlement where the settlement agreement reserves the questions of

fees and costs for the court to decide, and (3) settlements incorporating attorneys' fees and costs

into the settlement amount.” Fisher v. SD Prot. Inc., 948 F.3d 593, 600–01 (2d Cir. 2020)

(internal citations omitted). This case involves the second scenario.

        As a general matter, where a party is entitled to fees, the district court calculates the

“presumptively reasonable fee” by the “lodestar” method, which entails determining the

“number of hours reasonably expended on the litigation multiplied by a reasonable hourly rate.”


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See Millea v. Metro-North Railroad Co., 658 F.3d 154, 166 (2d Cir. 2011). Indeed, in Arbor

Hill, the Second Circuit held that in calculating a “presumptively reasonable fee,” courts must

consider a multitude of case-specific factors in order to establish a reasonable hourly rate that a

“reasonable, paying client would be willing to pay,” and then multiplying that rate by the

number of hours reasonably spent on the case. Arbor Hill Concerned Citizens Neighborhood

Ass’n v. County of Albany, 522 F.3d 182, 184, 190-91 (2d Cir. 2008). These factors include

“complexity and difficulty of the case, the available expertise and capacity of the client’s other

counsel (if any), the resources required to prosecute the case effectively[,] the timing demands of

the case, [and] whether an attorney might have an interest in achieving the ends of the litigation

or might initiate the representation himself,” id. at 184 – as well as the twelve factors the Fifth

Circuit employed in Johnson v. Ga. Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974). The

Johnson factors include (1) the time and labor required; (2) the novelty and difficulty of the

questions involved; (3) the skill required to properly perform the relevant services; (4) the

preclusion of other employment attendant to counsel's acceptance of the case; (5) the customary

fee; (6) whether the fee is fixed or contingent; (7) the time limitations imposed by the client or

the circumstances; (8) the amount involved and the results obtained; (9) the experience,

reputation, and ability of the attorneys; (10) the “undesirability” of the case; (11) the nature and

length of the professional relationship with the client; and (12) fee awards in similar cases.




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Johnson, 488 F.2d at 717-19. 5 Moreover, "[t]he burden is on the party seeking attorney's fees to

submit sufficient evidence to support the hours worked and the rates claimed," Hugee v. Kimso

Apartments, LLC, 852 F. Supp. 2d 281, 291 (E.D.N.Y. 2012), and this Circuit requires

contemporaneous billing records for each attorney, see Scott v. City of New York, 643 F.3d 56,

57 (2d Cir. 2011).

         Before this Court begins its lodestar analysis, it warrants mention that the Second Circuit

has recently held that in FLSA cases, the attorneys’ fees need not be proportional to the damages

awarded to the plaintiff. Fisher v. SD Prot. Inc., 948 F.3d 593, 602–03 (2d Cir. 2020). Indeed,

in Fisher, the Second Circuit noted that district courts in FLSA actions in this Circuit routinely

apply a proportionality limit on attorneys' fees in FLSA actions, despite the fact that “[n]either

the text nor the purpose of the FLSA, . . . supports imposing a proportionality limit on

recoverable attorneys' fees.” Id. Accordingly, the Court will evaluate the reasonableness of the

requested attorneys' fees and costs without using proportionality as a determinative factor.

         It also warrants mention that as a general rule, a plaintiff is considered to be a prevailing

party for the purposes of the FLSA “if [he or she] succeeds on any significant issue in litigation

which achieves some of the benefit [the party] sought in bringing [the] suit.” Andrews v. City of


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  Although the Perdue decision cast doubt on the usefulness of the Johnson factors as a methodology for
determining attorneys’ fees, 130 S. Ct. at 1672, reference to the Johnson factors is still useful in calculating a
presumptively reasonable fee in this Circuit. See Echevarria v. Insight Med., P.C., 102 F. Supp. 3d 511, 515 n.2
(S.D.N.Y. Apr. 29, 2015).


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New York, 118 F. Supp. 3d 630, 634–35 (S.D.N.Y. 2015) (citing Hensley v. Eckerhart, 461 U.S.

424, 433, 103 S. Ct. 1933, 76 L.Ed.2d 40 (1983)). To this end, where, as here, a plaintiff

obtains a favorable settlement in an FLSA action, that plaintiff constitutes a prevailing party.

Id. (citing Kahlil v. Original Old Homestead Rest., Inc., 657 F.Supp.2d 470, 474 (S.D.N.Y.2009)

(“The fact that [plaintiffs] prevailed through a settlement rather than through litigation does not

weaken [plaintiffs'] claim to fees”). Nonetheless, the Court may consider the plaintiffs’ only

limited success in this matter. Barfield v. New York City Health & Hosps. Corp., 537 F.3d 132,

140 (2d Cir. 2008) (upholding the district court’s 50% reduction in lodestar because the plaintiff

had achieved only limited success in the litigation as a whole and noting the import of

discouraging litigants to bring motions “when there is little basis for doing so.”)

       In this case, the defendants urge the Court to apply a similar reduction because the

plaintiffs insisted on pursuing exaggerated claims which were disproved early in the case by

documentary evidence. Bressler Aff. ¶ 12. Specifically, they argue that in 2015, prior to

commencing the litigation, plaintiffs counsel served the defendants with demand letters seeking

$41,760.61 in damages. Id. Ex. A, B. $22,551.89 was demanded for Dillatoro who claimed to

have worked 72 hours per week from September 2014 to April 2015 and $19,198.75 was

demanded for Rodriguez who claimed to work 73.5 hours per week from May 2014 to October

2014. Id. Almost two years later, the same demand was made when the plaintiffs filed their

Rule 26 disclosures. Id. Ex. C. Yet, the claims against Rodriguez were ultimately dismissed


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without prejudice based on his failure to appear for a deposition and the claims against Dillatoro

were substantially reduced. In fact, according to the defendants, despite providing the plaintiffs

with documentary evidence in 2017 reflecting that the plaintiffs’ claims were largely without

merit, Dillatoro waited until the parties were briefing the summary judgment motions to reveal,

for the first time that his damage claim amounted to only $9,300.89, a 66 2/3rd reduction. Id. ¶

5. In fact, by the time the plaintiffs moved for summary judgment, Dillatoro’s overtime claims

had gone from $5,320.00 to $94.23, an approximately 98% reduction. Id. His spread of hours

claim had gone from $1,497.86 to $888.60, an approximately 40% reduction and the wage notice

claims had gone from $3,914.29 to $1,900.00, an approximately 50% reduction, with liquidated

damages reduced accordingly. Id. He then agreed to settle the claim for approximately 75% of

that revised amount, which plaintiffs’ counsel toots as a success.

         The defendants also take issue with the reasonableness of the hours expended by

plaintiffs’ counsel. 6 For example, the defendants notes that the plaintiffs’ bills include time

spent for administrative tasks like electronic filing and service at Mr. Moser’s rate rather than at

a paralegal rate. In a similar vein, the defendants contend that attorney travel time should not be


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  The defendants do not object to plaintiffs’ counsels’ hourly rate. Plaintiffs’ counsel, who has 23 years of
experience in litigation and 13 years of experience in wage and hour cases, is seeking an hourly rate of $450 per
hour. Plaintiffs’ counsel is also seeking $75 per hour for his paralegal. The Court has considered the plaintiffs’
arguments, their submission in support of the hourly rates requested by counsel, the respective experience of Mr.
Moser, the overall complexity of the matter, and the rates in this district and finds those rates to be presumptively
reasonable.


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billed at a full hourly rate. They also argue that any time related to Rodriguez, whose claims

were ultimately dismissed, should not be chargeable to them. In fact, to this end, the Court

notes that the plaintiffs even seek reimbursement for counsel’s motion seeking leave to withdraw

as Rodriguez’s attorney despite the fact that the motion was deemed moot once counsel learned

that his client had, in fact, been trying to contact him. The defendants further contend that time

spent by the paralegal reviewing Court rules or “motion papers” without further elaboration

should not be considered. Finally, the plaintiffs urge the Court to consider an appropriate

reduction given the hours spent by plaintiffs’ counsel pursuing clearly exaggerated claims that

were disproved early in the case by documentary evidence.

       The Court has carefully reviewed plaintiffs’ counsels’ time records and has considered

the parties’ arguments. Although this litigation was protracted, based on the foregoing

considerations, the undersigned recommends at across-the board reduction of 50% of the hours

billed by plaintiffs’ counsel. See Callari v. Blackman Plumbing Supply, Inc., No. CV 11 3655

ADS AKT, 2020 WL 2771008, at *16 (E.D.N.Y. May 4, 2020), report and recommendation

adopted, No. 2 11 CV 3655 ADS AKT, 2020 WL 2769266 (E.D.N.Y. May 28,

2020)(recommending an across-the-board reduction of 45% of the hours billed); Kim v. 511 E.

5th St., LLC, 12 CIV. 8096, 2016 WL 6833928, at *7 (S.D.N.Y. Nov. 7, 2016) (reducing by 40%

attorneys’ fees requested based on various deficiencies); Xochimitl v. Pita Grill of Hell's

Kitchen, Inc., 14CV 10234, 2016 WL 4704917, at *21 (S.D.N.Y. Sept. 8, 2016), report and


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recommendation adopted by 2016 WL 6879258 (S.D.N.Y. Nov. 21, 2016) (disallowing certain

feed and reducing remaining fees sought by 80%). Therefore, the Court respectfully

recommends that attorneys’ fee be awarded in the amount of $27,588.75. Having reviewed the

billing records, the Court also recommends that the plaintiffs be awarded costs in the $1,742.27

for a total award of $29,331.02.

                                          OBJECTIONS

       Pursuant to 28 U.S.C. § 636(b)(1)(c) and Rule 72 of the Federal Rules of Civil Procedure,

the parties shall have fourteen (14) days from service of this Report and Recommendation to file

written objections. Any requests for an extension of time for filing objections must be directed

to Judge Hurley prior to the expiration of the fourteen (14) day period for filing objections.

Failure to file objections will result in a waiver of those objections for purposes of appeal.

Thomas v. Arn, 474 U.S. 140, 155 (1985); Beverly v. Walker, 118 F.3d 900, 901 (2d Cir. 1997);

Savoie v. Merchants Bank, 84 F.3d 52, 60 (2d Cir. 1996).


Dated: Central Islip, New York
       May 25, 2022

                                                      __________/s________________
                                                      ARLENE R. LINDSAY
                                                      United States Magistrate Judge




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